                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION

IN RE:      BURLINGTON CIVIL, INC.                                                    CHAPTER 7
              DEBTOR

            BRANCH BANKING AND TRUST COMPANY                           CASE NO. 19-40608-THF
               CREDITOR


                AGREED ORDER MODIFYING THE AUTOMATIC STAY


       This matter having come before the Court on agreement of Burlington Civil, Inc. (the

“Debtor”), Harry Mathison in his capacity as the Chapter 7 Trustee, and Branch Banking and

Trust Company (“BB&T”), with BB&T having filed a proof of claim of record [Proof of Claim

No. 1]. The Parties have agreed to a modification of the automatic stay in accordance with

Sections 362 of Title 11 of the United States Code (the “Bankruptcy Code”) and Rule 4001 of the

Federal Rules of Bankruptcy Procedure. The parties being in agreement, and with the Court

having reviewed the record and being fully advised,

       IT IS HEREBY AGREED, ORDERED AND DECREED AND THE COURT

HEREBY FINDS THAT:

       1.      On July 12, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code.

       2.      This Court has jurisdiction over this proceeding and the parties and property affected

hereby pursuant to 28 U.S.C. §§ 157 and 1334.

       3.      Venue of the Debtor’s case in this District is proper pursuant to 28 U.S.C. §§ 1408

and 1409.

       4.      This matter constitutes a core proceeding as defined in 28 U.S.C. § 157(b) (2) (A),

(D), (G), (K), (M) and (O).

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       5.      Good cause exists under Section 362(d)(1) of the Bankruptcy Code to modify the

automatic stay to permit BB&T to locate, assemble and secure all equipment of the Debtor.

       6.      Pursuant to 11 U.S.C. § 362(d)(1), the automatic stay is MODIFIED to permit

BB&T to inventory, locate, assemble, move, take possession of, and secure all equipment of the

Debtor.

       7.      The Debtor shall cooperate as reasonably necessary to enable BB&T to preserve

and take possession of or secure the equipment.

       8.      The provisions of Rule 4001(d)(1)-(3) of the Bankruptcy Rules shall not apply as the

terms of this Order are sufficient to afford reasonable notice of the material provisions hereof and

opportunity for a hearing.

THIS AGREED ORDER PREPARED BY:

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